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                      IN THE UNITED STATES DISTRICT COURT FOR
                      THE NORTHERN DISTRICT OF MISSISSIPPI
                            ABERDEEN DIVISION

MORKITER JONES                                                                       PLAINTIFF

VS.                                             CIVIL ACTION NO. 1:18-CV-193-MPM-DAS


JARED BOOTH;
CITY OF COLUMBUS, MISSISSIPPI et al                                               DEFENDANTS


                ORDER DISMISSING JARED BOOTH AS A DEFENDANT



      A Motion was filed in this matter seeking dismissal of the claims against Jared Booth in

his individual capacity. Plaintiff agreed to the dismissal of individual Defendant Jared Booth.

See docket # 17. All claims against Jared Booth in this matter are dismissed with prejudice and

Jared Booth is dismissed as a Defendant in this cause.


        So ordered this the 28th day of March, 2019.

                                             /s/ MICHAEL P. MILLS
                                             UNITED STATES DISTRICT JUDGE
                                             NORTHERN DISTRICT OF MISSISSIPPI


Agreed:

/s/Brad Morris, MSB#104017
Attorney for Plaintiff

/s/Katherine S. Kerby, MSB#3484
Attorney for Jared Booth

/s/Jeffery J. Turnage. MSB#9447
Attorney for the City of Columbus, MS
